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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                             MDL No. 2741
LIABILITY LITGATION
                                                    Case No. 16-md-02741-VC
This document relates to:
ALL ACTIONS




                                  PLAINTIFF FACT SHEET

       You are required to provide the following information regarding yourself, or for each
individual on whose behalf you are asserting legal claims in the above lawsuit. Each question
must be answered in full, but you may approximate where specified below. If you do not know
or cannot recall the information needed to answer a question, please explain that in response to
the question. Please do not leave any questions unanswered or blank. If you are filling out this
Fact Sheet in hard copy, use additional sheets as needed to fully respond.


I. REPRESENTATIVE CAPACITY

   A.      If you are completing this Fact Sheet on behalf of someone else (e.g., a deceased
           person, an incapacitated person, or a minor), please complete the following:

               1.
                      Your Name

               2.
                      Your Home Address

               3.     What is your relationship to the person upon whose behalf you have
                      completed this Fact Sheet? (e.g., parent, guardian, Estate Administrator)



[If you are completing this questionnaire in a representative capacity, please respond to the
remaining questions on behalf of the person who used or was exposed to Roundup® or
other glyphosate-based herbicides.]




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II. PERSONAL INFORMATION

    A.    Name:

          Other Names by which you have been known (from prior marriages or
          otherwise, if any): ______________________________________________

    B.    Sex: ____________

    C.    Social Security Number: _______________________

    D.    Date and Place of Birth (City, State, Country):

          _____________________________________________________________________

    E.    For each different city where you have lived for the past twenty-five (25) years,
          provide the following information:

                     City and State                  Approximate Dates You Lived There
             (include Country if outside the            (Month/Year to Month/Year)
                     United States)




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         F.    Please complete the chart below detailing your employment history for the past
               twenty-five (25) years. If there were periods of retirement, unemployment, or
               student status during the past 25 years, include those as well.

  Number      Name of          City and State    Approximate      Occupation         Job Duties
              Employer          Where You          Dates of       or Job Title
                                  Worked         Employment
                                                (Month/Year to
                                                 Month/Year)
     1

     2

     3

     4

         G.    Workplace Checklist: Have you ever worked in any of the occupations or workplaces
               listed below? If so, please check “yes” and then list the number(s) in the chart in
               section II(F) above that corresponds to that occupation.

Industry                           Yes          No     Number in Chart in
                                                         Section II(F)
Car Mechanic
Cleaning/Maid Service
Electrician
Farming/agricultural
Hairdressing
Handled fission products
Handled jet propellant
Handled solvents
Horticultural
Hospitals and Clinics
Landscaping
Metal Working
Painting
Pest Exterminator
Pesticide use
Petroleum Refinery
Rubber Factory
Schoolteacher
Textile
Woodworking
X-radiation or gamma-
radiation (regular exposure)


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   III. FAMILY INFORMATION

          A.     For any grandparent, parent, sibling, or child who has been diagnosed with
                 cancer or who has died, please provide the following information. Please
                 include any adopted or step-children or siblings.

Name Relationship Approximate         Approximate          Cause      Diagnosed       Date/Type
                   Birth Year           Date of             of           with
                                         Death             Death       cancer?




  IV. PERSONAL MEDICAL HISTORY
     A.     To the best of your ability, please list all primary care healthcare providers
            (not including pharmacies) where you have received care over the last 25
            years. For each, please provide the name, city and state, and approximate
            dates of care.

                 1.      ____________________________________________________

                         ____________________________________________________

                 2.      ____________________________________________________

                         ____________________________________________________

                 3.      ____________________________________________________

                         ____________________________________________________

                 4.      ____________________________________________________

                         ____________________________________________________

                 5.      ____________________________________________________

                         ____________________________________________________




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B.     Please indicate whether your medical history includes any of the following
       conditions, procedures, or medications:
             Condition, Procedure, or Medication: Yes No Treating
                                                                   Physician
             Diabetes
             Obesity
             Auto-immune diseases (including but
             not limited to Crohn’s disease,
             Ulcerative Colitis, HIV)
             Epstein Barr
             Ulcers
             Celiac Disease
             Hepatitis C
             Eczema
             Radiation
             Smoking
             Lupus
             Rheumatoid Arthritis
             Organ, stem cell, or other transplant
             Immunosuppressive Medications

C.     To the best of your ability, please list all healthcare providers (not including
       pharmacies) where you have received treatment over the last 25 years for any type
       of cancer (including NHL), or for any of the conditions, procedures, or
       medications listed in the chart directly above. For each, please provide the name,
       city and state, approximate dates of care, and the reason for your visit. You do not
       need to repeat healthcare providers listed in question (A). Please also execute the
       medical authorizations included in Exhibit A.

            1.     ____________________________________________________________

                   ____________________________________________________________

            2.     ____________________________________________________________

                   ____________________________________________________________

            3.     ____________________________________________________________

                   ____________________________________________________________

            4.     ____________________________________________________________

                   ____________________________________________________________

            5.     ____________________________________________________________

                   ____________________________________________________________
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V.        CANCER HISTORY

     A.      Have you been diagnosed with non-Hodgkin's lymphoma, or “NHL”?
                Yes ______ No ______

     B.      When were you first diagnosed with NHL?
               Year ______ Month ________

     C.      Approximately when did you first begin experiencing symptoms of NHL?
                Year ______ Month ________

     D.      Please list the names of the physician(s) that first diagnosed you with NHL and the
             city and state in which you were diagnosed.

             _____________________________________________________________

     E.      Please list the names of the primary oncologist(s) who have treated your NHL.

             _____________________________________________________________

     F.      Describe your NHL. For example, do you have B-cell or T-cell NHL? Is it
             aggressive or indolent? Small cell or large cell? Any other details? (If you have
             Mycosis Fungoides, make sure to specify this.)

             ___________________________________________________________________

     G.      Have you been diagnosed with any types of cancer other than NHL?
                Yes ______ No ______

     H.      If yes, please answer the following questions for each type of cancer that you have
             been diagnosed with other than NHL:

                1.      What type of cancer was diagnosed (including sub-type, if applicable)?

                        ______________________________________________________
                2.      On approximately what date did you first experience any symptoms
                        that you believe are related to that cancer?

                         ______________________________________________________
                  3.     Please list the names of the physician(s) that first diagnosed you with
                         that cancer.
                          _______________________________________________________
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              4.     Please list the names of the primary oncologist(s) who have treated that
                     cancer.
                      _______________________________________________________

  I.     Has any physician or healthcare provider ever told you that you have a genetic
         predisposition for developing NHL or other types of cancer?

            If yes, answer the following:

              1.    Name, location (city and state), and occupation of the person who told you
                    this.

                    _________________________________________________________

              2.    What were you specifically told about your genetic predisposition?

                     ____________________________________________________________

                     ____________________________________________________________

                     ____________________________________________________________

              3.    Approximately when were you told this information?

                     ____________________________________________________________

VI. PRIOR CLAIMS, LEGAL MATTERS, AND MEDICAL COVERAGE

  A.     Have you ever filed a workers’ compensation claim for accidents or injuries
         relating to substance exposure in the workplace? (Answer “no” if you have only
         filed workers’ compensation claims unrelated to substance exposure.)

         Yes ______ No ______
            If yes, please state:
            1.      Approximate date the claim was filed with your employer, or date that
                    you notified employer of accident/injury giving rise to workers’
                    compensation claim:

                    __________________________________________________________

            2.      Nature of injury or accident claimed (what happened):

                    _____________________________________________________________

                    _____________________________________________________________

                    _____________________________________________________________

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B.     Have you ever filed a claim for Social Security disability insurance benefits
       (“SSDI”) for a disability caused by substance exposure in the workplace?
       (Answer “no” if you have only filed SSDI claims unrelated to substance
       exposure.)

       Yes ______ No ______
       If yes, please state:

       1.     Approximate date the claim was filed with the Social Security Administration:

               _____________________________________________________________

       2.     Nature of disability giving rise to claim:

              ________________________________________________________________

              ________________________________________________________________

              ________________________________________________________________

C.     Have you ever filed any other type of disability claim for a disability caused by
       substance exposure in the workplace? (Answer “no” if you have only filed other types
       of disability claims unrelated to substance exposure.)
       Yes ______ No ______
       If yes, please state:

       1.     Approximate date claim was filed:

       2.     Name of insurer/employer/government or other party to whom claim was

              made and, if applicable, claim number assigned:

              ______________________________________________________________

              ______________________________________________________________

              ______________________________________________________________

       3.     Nature of disability giving rise to claim:

              ________________________________________________________________

              _______________________________________________________________

D.     Have you ever been denied life insurance for reasons relating to your medical,
       physical, psychiatric or emotional condition?

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            Yes ______ No ______
            If yes, please state when, the name of the company, and the reason(s) for denial.

            ____________________________________________________________________

            ____________________________________________________________________

            ___________________________________________________________________

  E.        Have you ever been denied medical insurance?
            Yes ______ No ______
            If yes, please state when, the name of the company, and the reason(s) for denial.

            ______________________________________________________________________

            ______________________________________________________________________

            _____________________________________________________________________

  F.        Have you ever filed a lawsuit or claim (including administrative charges,
            unemployment claims, and bankruptcy petitions) against anyone aside from the
            present lawsuit?
                Yes _______ No ______
                If yes, for each lawsuit, state (1) the court in which the lawsuit was filed; (2) the
                case name; (3) the civil action or docket number assigned to the lawsuit; (4) a
                description of your claims in the lawsuit; and (5) the final result, outcome, or
                adjudication of claims (e.g., whether the lawsuit was dismissed by parties,
                dismissed by court, judgment granted in favor of a party).
                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________


VII. ROUNDUP® AND OTHER GLYPHOSATE-BASED HERBICIDES

       A.       Have you used Roundup® or other glyphosate-based products?

                Yes ______ No ______
       B.       When did you first begin using Roundup® or other glyphosate-based products?

                Year ______ Month ______

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             C.      Please complete the chart below to detail your exposure to Roundup® and other
                      glyphosate-based products. Use as many rows as necessary to describe different
                      periods of usage.

Dates of   Product Name Frequency             Usage      Type of Usage1       Reason for     Location
 Usage     (Please specify     of                         (check all that       Usage            of
               which        Exposure                         apply):                         Exposure
            products are                                                                     (City and
             Roundup®                                                                          State)
             products.)
Example:   Example:        Example:        Example: Residential: _X_         Example: To Example:
1980-      Roundup®        Once per        I sprayed                         control     Oakland,
1985       Grass and       week            Roundup®                          weeds on my CA
                                                      IT&O: ___
           Weed Killer                     in my                             personal
                                           yard using                        property.
                                           a hand     Agricultural: ___
                                           sprayer.
                                                      Residential: ___

                                                        IT&O: ___

                                                        Agricultural: ___

                                                        Residential: ___

                                                        IT&O: ___

                                                        Agricultural: ___

                                                        Residential: ___

                                                        IT&O: ___

                                                        Agricultural: ___




     1
       Residential includes using the product on your lawn, garden, or place of residence. Industrial,
     Turf, and Ornamental (“IT&O”) includes using the product in areas such as golf courses, nurseries,
     roadsides, or for turf management or landscaping. Agricultural includes using the product to assist
     with farming or harvesting crops.
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  D.        Describe any precautions you took while using these products (examples: wearing

            gloves, a mask, or other protective gear).

            ______________________________________________________________________

            ______________________________________________________________________

            ______________________________________________________________________

  E.        For the products identified in the chart above, do you have the receipts, proof of
            purchase, or store of purchase for each product you claim to have used?

                 Yes          No __ _

  To the extent you have receipts, proof of purchase, or store of purchase for these
  products, please provide copies of those receipts and other documents.

  F.        Please complete the chart below to detail your exposure to other herbicides or
            pesticides. Use as many rows as necessary to detail different periods of usage.

 Dates of        Type and Brand of          Frequency of            Usage          Reason for
  Usage         Herbicide or Pesticide        Exposure                               Usage
Example:       Example: Viper              Example: every      Example: I       Example: I used
2000-2010      Insecticide Concentrate     weekday             sprayed it using the pesticide in
                                                               a pump sprayer. my job as an
                                                                                exterminator.




VIII. DAMAGES CLAIMS
        A.       If you are claiming loss of income due to injuries allegedly caused by
                 Roundup® or other glyphosate-based herbicides, complete the following for
                 each of your employers, starting ten (10) years prior to your first diagnosis
                 with cancer (whether NHL or another type of cancer) and continuing through
                 today.
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Employer    Location    Average      Day or     Approximate      How much money did you make in
             (City     Hours per     Night        Dates of        this job per week? Please specify
              and        Week         Shift     Employment       how much was due to overtime pay
             State)                                                          or bonuses.




     B.      State the total amount of time that you have lost from work as a result of any
             medical condition that you claim was caused by Roundup® or other Monsanto
             glyphosate-based herbicides, and the amount of income that you lost:

                1.      Medical Condition:

                2.      Total number of days lost from work due to above medical condition or, if
                        forced retirement, date of retirement:

                                              days

                3.      Estimated total income lost (to date) from missed work, including

                        explanation as to method used to calculate number:

                        ____________________________________________________

                        ____________________________________________________

                        ____________________________________________________

     C.      Have you paid or incurred any out-of-pocket medical expenses (that is, expenses not
             paid by your insurance company or by a government health program) related to any
             condition that you claim or believe was caused by Roundup® or other Monsanto
             glyphosate-based products for which you seek recovery in this lawsuit?

                Yes         No ______

                If yes, please state the total amount of such expenses at this time: $ ______

     D.      If you are making any claims for other non-medical out-of-pocket expenses, please
             complete the following:

                1.      For what? ______________________________

                2.      Amount of fees or expenses: $ ______________________
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   E.      Please list the names of all insurers or government health programs who have been
           billed for or paid medical expenses related to any condition that you claim or believe

           was caused by Roundup® or other Monsanto glyphosate-based products for which you
           seek recovery in this lawsuit.
           ______________________________________________________________________
           ______________________________________________________________________
           ______________________________________________________________________

IX. DOCUMENTS

Please attach the following documents to this Fact Sheet, making certain that all releases are
signed and dated within 30 days of submission:

   A.      Medical records release (Ex. A)—execute one per healthcare provider (including
           mental health, only if you are claiming mental health damages, including emotional
           distress, in the lawsuit). Plaintiffs’ counsel will also obtain 10 blank forms covering
           the past 25 years, and if Monsanto identifies additional health care providers not
           identified in the PFS or on Exhibit A, Plaintiff will fill in that health care provider and
           provide to Monsanto within seven days of the request.

   B.      Employment history release (Ex. B)—execute one for each employer in the past 25
           years.

   C.      Workers' compensation, social security disability, and insurance claims releases
           (Ex. C).

   D.      If you are claiming loss of income due to injuries allegedly caused by Roundup® or
           other glyphosate-based herbicides, complete the tax records and social security
           income release for the past 10 years (Ex. D).

   E.      If applicable, decedent’s death certificate.




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                                        DECLARATION

       I declare under penalty of perjury that all of the information provided in this Plaintiff

Fact Sheet is true and correct to the best of my knowledge, information and belief, and that I

have supplied all the documents requested in Part IX of this Declaration, to the extent that such

documents are in my possession, custody, or control, or in the possession of my lawyers.




Signature                                                         Date



Name (Printed)




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                 Exhibit A
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                                                                                          Full Name


                                                                             Social Security Number


                                                                                        Date of Birth

                           AUTHORIZED IN CONNECTION WITH

                             In re: Roundup Products Liability Litigation
                                    Northern District of California
                                       No. 3:16-md-02741-VC


              AUTHORIZATION FOR RELEASE OF MEDICAL RECORDS

                     In Compliance With the Health Insurance Portability
                          and Accountability Act of 1996 (HIPAA)


To:
       Name of Entity


       Address


        City, State, Zip Code

       Pursuant to the Health Information Portability and Accountability Act (HIPAA)
Privacy Regulations, 45 CFR § 164.508, you are hereby authorized to release my entire medical
records file to the Records Requester listed below. This release authorizes you to furnish copies of
all medical records, including but not limited to medical history or examination reports and notes,
laboratory reports, pathology slides, reports, notes and specimens, radiographic films, CT scans,
X-rays, MRI films, MRA films, correspondence, progress notes, prescription records,
echocardiographic recordings, written statements, employment records, wage records, insurance,
Medicare, Medicaid and disability records, and medical bills regarding my injuries, diseases,
diagnoses, or treatment, specifically including but not limited to cancer diagnoses and treatment.
This authorization does not extend to psychotherapy notes, as that term is defined in the HIPAA
Privacy Rules, 45 C.F.R. §164.501, to mean notes recorded in any medium by a health care
provider who is a mental health professional, documenting or analyzing the contents of
conversation during private, joint or group counseling sessions, and which are kept separate from
my medical records.
         This authorization is being given at my request in conjunction with the civil litigation
matter listed above and no other purpose. You are hereby authorized to release these medical
records to the following Records Requester for their use in the above-entitled litigation.
Monsanto Company (“Monsanto”), a defendant in the above lawsuit, has agreed to pay
reasonable charges to supply copies of such records. Copies of any records obtained will be
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provided, per agreement, to my legal counsel. You should provide all documents and information
to:
Records Requester

    1.         ATTN: Mr. Gregory Chernack, HOLLINGSWORTH LLP, 1350 I
               Street, N.W., Washington, DC 20005, (202) 898-5800, or any
               member, associate or designee of the law firm.

        I understand that the health information being used/disclosed may include information
and/or records relating to and treatment of Human Immunodeficiency Virus (HIV), Acquired
Immune Deficiency Syndrome (AIDS), sexually transmitted diseases and drug and alcohol
use.

        I understand that this authorization pertains only to the civil litigation referenced above.
Therefore, this authorization shall expire upon the final resolution by all parties of the
aforementioned civil litigation, either by final adjudication, final settlement agreement, final
judicial dismissal, or by other final judicial order, including but not limited to the resolution of
any and all appeals. I understand that this authorization remains in full force and effect until
such expiration or revocation, as more fully described below, and further authorizes you to
release to the Records Requester any additional records created or obtained by you after the
date of execution of this authorization. I understand and intend that you may rely on this
authorization in all respects unless you have previously been advised by me in writing to the
contrary.

        I understand that I may revoke this authorization at any time by providing you a written
revocation, but that my revocation will be effective only to the extent that the information has not
already been released. I further understand that the covered entity to whom this authorization is
directed may not condition treatment, payment, enrollment or eligibility benefits on whether or
not I sign this authorization.

        I understand that any documents or information released by you could potentially be re-
disclosed by the aforementioned Records Requester and that any information re-disclosed by that
party is not subject to this authorization. I expressly permit the Records Requester to re-disclose
my medical records file for purposes limited only to this civil litigation matter and only to the
extent necessary and further limited to medical-related consultants and/or experts of the Records
Requester or related to Monsanto’s obligations to provide information to any federal or state
authorities if required by law. I grant this permission only on the condition that the Records
Requester mark each and every page of my records with a stamp designating them as
“Confidential.”

       This authorization shall not be valid unless the Records Requester named above has
executed the acknowledgment at the end of this authorization.
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        This authorization is executed and served in compliance with HIPAA, the Federal
Regulations promulgated thereunder, and more specifically, 45 C.F.R. § 164.508, all of which
govern the requirements for the release of private health information.




Name of Patient                     Signature              Date of Birth         Date Signed




      Description of Legal Guardian/Personal Representative’s Authority to Act for Patient.
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                                    ACKNOWLEDGMENT


         The undersigned, as the Records Requester named in the above medical authorization,
hereby declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the attorney for the
patient named in the foregoing medical authorization has been given notice that the authorization
will be used to request records and information from the person or entity to whom it is addressed.
The attorney for or the person named in the foregoing medical authorization has also been
afforded an opportunity to order copies of the records requested from the undersigned requester
at a reasonable cost.


                              Date:

                              Records Requester’s Signature:
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                                                                                                   Full Name


                                                                                      Social Security Number


                                                                                                 Date of Birth

                             AUTHORIZED IN CONNECTION WITH

                                In re: Roundup Products Liability Litigation
                                       Northern District of California
                                          No. 3:16-md-02741-VC


             AUTHORIZATION FOR RELEASE OF MENTAL HEALTH RECORDS

                       In Compliance With the Health Insurance Portability
                            and Accountability Act of 1996 (HIPAA)


To:        ___________________________
           Name of Entity

           ___________________________
           Address

           ___________________________
           City, State, Zip Code

        Pursuant to the Health Information Portability and Accountability Act (HIPAA)
Privacy Regulations, 45 CFR § 164.508, you are hereby authorized to release my entire medical
records file to the Records Requester listed below. This release authorizes you to furnish copies
of any information, including but not limited to medical records, psychotherapy notes, and clinical
information concerning the assessment, evaluation, treatment, and/or hospitalization related to
mental health or psychiatric illnesses or conditions.

        This authorization is being given at my request in conjunction with the civil litigation matter listed
above and no other purpose. You are hereby authorized to release these medical records to the following
Records Requester for their use in the above-entitled litigation. The defendant in the above lawsuit has
agreed to pay reasonable charges to supply copies of such records. Copies of any records obtained will be
provided, per agreement, to my legal counsel. You should provide all documents and information to:

Records Requester


      1.         ATTN: Mr. Gregory Chernack, HOLLINGSWORTH LLP, 1350 I
                 Street, N.W., Washington, DC 20005, (202) 898-5800, or any
                 member, associate or designee of the law firm.
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       I understand that the health information being disclosed by these psychotherapy notes may
include information relating to and treatment of Human Immunodeficiency Virus (HIV),
Acquired Immune Deficiency Syndrome (AIDS), sexually transmitted diseases and drug and
alcohol use.

        I understand that this authorization pertains only to the civil litigation referenced above.
Therefore, this authorization shall expire upon the final resolution by all parties of the
aforementioned civil litigation, either by final adjudication, final settlement agreement, final
judicial dismissal, or by other final judicial order, including but not limited to the resolution of
any and all appeals. I understand that this authorization remains in full force and effect until such
expiration or revocation, as more fully described below, and further authorizes you to release to
the Records Requester any additional records created or obtained by you after the date of
execution of this authorization. I understand and intend that you may rely on this authorization in
all respects unless you have previously been advised by me in writing to the contrary.

        I understand that I may revoke this authorization at any time by providing you a written
revocation, but that my revocation will be effective only to the extent that the information has not already
been released. I further understand that the covered entity to whom this authorization is directed may not
condition treatment, payment, enrollment or eligibility benefits on whether or not I sign this authorization.

        It is expressly understood and intended by the undersigned that you are hereby authorized to
accept a copy or photocopy of this authorization with the same validity as though an original had been
presented to you.

         I understand that any documents or information released by you could potentially be re-disclosed
by the aforementioned Records Requester and that any information re-disclosed by that party is not subject
to this authorization and may not be subject to HIPAA, the Federal Regulations promulgated under the
authority of HIPAA, and more specifically, the requirements imposed by 45 C.F.R. § 164.508. I expressly
permit the Records Requester to re-disclose my medical records file for purposes limited to this civil
litigation matter or related to the defendant’s legal obligations to provide information to the Environmental
Protection Agency.

       This authorization shall not be valid unless the Records Requester named above has executed the
acknowledgment at the end of this authorization.
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         This authorization is executed and served in compliance with HIPAA, the Federal Regulations
promulgated thereunder, and more specifically, 45 C.F.R. § 164.508, all of which govern the requirements
for the release of private health information.




Name of Patient                Signature               Date of Birth           Date Signed




______________________________________________________________________________
       Description of Legal Guardian/Personal Representative’s Authority to Act for Patient
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                                         ACKNOWLEDGMENT


        The undersigned, as the Records Requester named in the above medical authorization, hereby
declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the attorney for the patient named in
the foregoing medical authorization has been given notice that the authorization will be used to request
records and information from the person or entity to whom it is addressed. The attorney for or the person
named in the foregoing medical authorization has also been afforded an opportunity to order copies of the
records requested from the undersigned requester at a reasonable cost.



                                 Date:

                                          Records Requester’s Signature:
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                 Exhibit B
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                                                                                                     Full Name


                                                                                       Social Security Number


                                                                                                  Date of Birth

                             AUTHORIZED IN CONNECTION WITH

                                In re: Roundup Products Liability Litigation
                                       Northern District of California
                                          No. 3:16-md-02741-VC


            AUTHORIZATION FOR RELEASE OF EMPLOYMENT RECORDS


To:     ___________________________
        Name of Entity

        ___________________________
        Address

        ___________________________
        City, State, Zip Code

        I hereby authorize the firm of HOLLINGSWORTH LLP, 1350 I Street, N.W.,
Washington, DC 20005, (202) 898-5800, or any other member, associate or designee of the firm,
to be furnished copies of my entire personnel file, including but not limited to documents relating
to attendance, leave of absences (whether for vacation, sick leave or other reasons), reported
injuries, promotions and demotions, performance evaluations, reports of health examinations, job
applications, and wages paid and/or earnings given (including W-2 forms), and all other pertinent
documents, including any and all medical, psychological, or testing records or memoranda. The
defendant in the above lawsuit has agreed to pay reasonable charges to supply copies of such
records.

        This authorization is being given at my request in conjunction with the civil litigation matter listed
above. Therefore, this authorization shall expire upon the final resolution by all parties of the
aforementioned civil litigation, either by final judicial order, final settlement agreement, final judicial
dismissal, or by other final judicial order, including but not limited to the resolution of any and all appeals.
Until then, this authorization shall be considered as continuing, and you may rely on it in all respects
unless and until you have been advised by me in writing to the contrary. Please note that this authorization
also permits you to release any records created or obtained by you after the date of execution of this
authorization.
        Case3:16-md-02741-VC
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        It is expressly understood and intended by the undersigned that you are hereby authorized to
accept a copy or photocopy of this authorization with the same validity as though an original had been
presented to you.




Name of Employee /Former Employee Signature              Date of Birth           Date Signed
 Case3:16-md-02741-VC
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                 Exhibit C
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                                                                                                    Full Name


                                                                                      Social Security Number


                                                                                                  Date of Birth

                             AUTHORIZED IN CONNECTION WITH

                                In re: Roundup Products Liability Litigation
                                       Northern District of California
                                          No. 3:16-md-02741-VC


       AUTHORIZATION FOR RELEASE OF WORKERS’ COMPENSATION RECORDS

To:     ____________________________
        Name of Entity

        ____________________________
        Address

        ____________________________
        City, State, Zip Code


         I hereby authorize the law firm of HOLLINGSWORTH LLP, 1350 I Street, N.W., Washington,
DC 20005, (202) 898-5800, or any member, associate or designee of the firm to be furnished copies of my
entire workers’ compensation file, including but not limited to any claims made by me, and any documents
discussing, describing, or explaining the investigation and processing of that claim and all other pertinent
documents, including all medical records and memoranda. Monsanto Company (“Monsanto”), a defendant
in the above lawsuit, has agreed to pay reasonable charges to supply copies of such records.

         This authorization is being given at my request in conjunction with the civil litigation matter listed
above. Therefore, this authorization shall expire upon the final resolution by all parties of the
aforementioned civil litigation, either by final adjudication, final settlement agreement, final judicial
dismissal, or by other financial judicial order, including but not limited to the resolution of any and all
appeals. Until then, this authorization shall be considered as continuing, and you may rely on it in all
respects unless and until you have been advised by me in writing to the contrary. Please note that this
authorization also permits you to release any records created or obtained by you after the date of execution
of this authorization.
        Case3:16-md-02741-VC
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        It is expressly understood and intended by the undersigned that you are hereby authorized to
accept a copy or photocopy of this authorization with the same validity as though an original had been
presented to you.




Name                    Signature               Date of Birth            Date Signed




______________________________________________________________________________
       Description of Legal Guardian/Personal Representative’s Authority to Act.




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                                                                                                    Full Name


                                                                                      Social Security Number


                                                                                                  Date of Birth


                             AUTHORIZED IN CONNECTION WITH

                                In re: Roundup Products Liability Litigation
                                       Northern District of California
                                          No. 3:16-md-02741-VC


              AUTHORIZATION FOR RELEASE OF INSURANCE RECORDS


To:     ___________________________
        Name of Entity

        ___________________________
        Address

        ___________________________
        City, State, Zip Code

       I hereby authorize the law firm of HOLLINGSWORTH LLP, 1350 I Street, N.W.,
Washington, DC 20005, (202) 898-5800, or any member, associate, or designee of the firm to be
furnished copies of my entire insurance file, including but not limited to any and all health
insurance questionnaires, claims made by or against me, and any documents discussing,
describing, or explaining the investigation and processing of that claim and all other pertinent
documents, including all medical records or memoranda. Monsanto Company (“Monsanto”), a
defendant in the above lawsuit, has agreed to pay reasonable charges to supply copies of such
records.

         This authorization is being given at my request in conjunction with the civil litigation matter listed
above. Therefore, this authorization shall expire upon the final resolution by all parties of the
aforementioned civil litigation, either by final adjudication, final settlement agreement, final judicial
dismissal, or by other final judgment order, including but not limited to the resolution of any and all
appeals. Until then, this authorization shall be considered as continuing, and you may rely on it in all
respects unless and until you have been advised by me in writing to the contrary. Please note that this
authorization also permits you to release any records created or obtained by you after the date of execution
of this authorization.
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        It is expressly understood and intended by the undersigned that you are hereby authorized to
accept a copy or photocopy of this authorization with the same validity as though an original had been
presented to you.




                                                                                                 _____
Name of Insured                         Signature                Date of Birth           Date Signed




____________________________________________________________________________________
       Description of Legal Guardian/Personal Representative’s Authority to Act for Insured
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                 Exhibit D
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                                                                                                     Full Name


                                                                                       Social Security Number


                                                                                                  Date of Birth

                             AUTHORIZED IN CONNECTION WITH

                                In re: Roundup Products Liability Litigation
                                       Northern District of California
                                          No. 3:16-md-02741-VC



   AUTHORIZATION FOR RELEASE OF DEPARTMENT OF REVENUE RECORDS


To:     ___________________________
        Name of Entity

        ___________________________
        Address

        ___________________________
        City, State, Zip Code


        I hereby authorize the law firm of HOLLINGSWORTH LLP, 1350 I Street, N.W., Washington,
DC 20005, (202) 898-5800, or any member, associate, or designee of the firm to be furnished copies of the
previously filed income tax returns filed by________________________. Monsanto Company
(“Monsanto”), a defendant in the above lawsuit, has agreed to pay reasonable charges to supply copies of
such records.

        This authorization is being given at my request in conjunction with the civil litigation matter listed
above. Therefore, this authorization shall expire upon the final resolution by all parties of the
aforementioned civil litigation, either by final adjudication, final settlement agreement, final judicial
dismissal, or by other final judicial order, including but not limited to the resolution of any and all appeals.
Until then, this authorization shall be considered as continuing, and you may rely on it in all respects
unless and until you have been advised by me in writing to the contrary. Please note that this authorization
also permits you to release any records created or obtained by you after the date of execution of this
authorization.
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        It is expressly understood and intended by the undersigned that you are hereby authorized to
accept a copy or photocopy of this authorization with the same validity as though an original had been
presented to you.




Name                    Signature               Date of Birth            Date Signed




_____________________________________________________________________________
             Description of Legal Guardian/Personal Representative’s Authority to Act
